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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                             Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                   Phone: (312) 435-5850
             Chicago, Illinois 60604                                         www.ca7.uscourts.gov




                                         NOTICE OF DOCKETING - Short Form
 December 10, 2020


 The below captioned appeal has been docketed in the United States Court of Appeals for the
 Seventh Circuit:

                    Appellate Case No: 20-3396

                    Caption:
                    WILLIAM FEEHAN,
                    Plaintiff - Appellant

                    v.

                    WISCONSIN ELECTIONS COMMISSION, et al.,
                    Defendants - Appellees


                    District Court No: 2:20-cv-01771-PP
                    District Judge Pamela Pepper
                    Clerk/Agency Rep Gina M. Colletti

                    Date NOA filed in District Court: 12/10/2020


 If you have any questions regarding this appeal, please call this office.



 form name: c7_Docket_Notice_short_form(form ID: 188)




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